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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


 ANALYTICAL TECHNOLOGIES, LLC                §
                                             §         CASE NO. 2:24-cv-00052-JRG-RSP
 v.                                          §                  (Lead Case)
                                             §
 JACK IN THE BOX INC.                        §


 ANALYTICAL TECHNOLOGIES, LLC   §
                                §
 v.                             §                      CASE NO. 2:24-cv-00054-JRG-RSP
                                §                              (Member Case)
 DICKEY’S BARBECUE RESTAURANTS, §
 INC.                           §


 ANALYTICAL TECHNOLOGIES, LLC                §
                                             §         CASE NO. 2:24-cv-00056-JRG-RSP
 v.                                          §                 (Member Case)
                                             §
 ZAXBY’S FRANCHISING LLC                     §

                                            ORDER

        The above-captioned cases are hereby ORDERED to be CONSOLIDATED for all

 pretrial issues with the LEAD CASE, Case No. 2:24-cv-00052. All parties are instructed to file

 any future filings in the LEAD CASE. Individual cases remain active for trial.

      The Clerk is instructed to add the consolidated Defendants into the Lead Case and their

 corresponding Lead and Local Counsel only. Additional counsel may file a Notice of Appearance

 in the Lead Case if they wish to continue as counsel of record in the lead consolidated action.

 Counsel who has appeared pro hac vice in any member case may file a Notice of Appearance in

 the Lead Case without filing an additional application to appear pro hac vice in the Lead Case.

 Counsel who have not appeared in a member case at the point when it is consolidated into the Lead

 Case should file a Notice of Appearance only in the Lead Case, and such Notice should state the

 relevant member case.


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   So ORDERED and SIGNED this 17th day of April, 2024.




                                             ____________________________________
                                             RODNEY GILSTRAP
                                             UNITED STATES DISTRICT JUDGE




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